                             UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF TENNESSEE
                                  NASHVILLE DIVISION


UNITED STATES OF AMERICA                        )
                                                )
v.                                              )           No. 3:12-00013
                                                )           JUDGE CAMPBELL
MANILA VICHITVONGSA                             )

                                            ORDER

       Pending before the Court is Defendant Vichitvongsa’s Second Motion To Extend The

Deadline For Filing Post-Trial Motions (Docket No. 750). Through the Motion, the Defendant

requests an extension of time, until September 1, 2014, in which to file post-trial motions. The

Motion is GRANTED.

       It is so ORDERED.



                                                     _________________________________
                                                     TODD J. CAMPBELL
                                                     UNITED STATES DISTRICT JUDGE




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